Case 0:17-cv-60330-DPG Document 38 Entered on FLSD Docket 11/03/2017 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 0:17-cv-60330-GAYLES/SELTZER
  Stephen Dambra

          Plaintiff,

  V.

  Specialized Loan Servicing, LLC; and DOES
  1-10, inclusive,

        Defendants.
  ______________________________________/

                            NOTICE OF PENDING SETTLEMENT

          Defendant, SPECIALIZED LOAN SERVICING, LLC, (“Defendant”) by and through the

  undersigned counsel, hereby submits this Notice of Pending Settlement and states that the parties

  have reached a settlement in principle with regard to this case and are presently drafting,

  finalizing, and executing the settlement and dismissal documents. The parties expect to file the

  appropriate dismissal documents within thirty (30) days.

          Dated: November 3, 2017.

                                              Respectfully Submitted,

                                              McGLINCHEY STAFFORD

                                              /s/Joseph A. Apatov____
                                              Joseph A. Apatov, Esq.
                                              Florida Bar #93546
                                              McGlinchey Stafford
                                              One East Broward Blvd Ste 1400
                                              Ft Lauderdale, FL 33301
                                              (954) 356-2516 (telephone)
                                              (954) 252-3808 (facsimile)
                                              japatov@mcglinchey.com
                                              jruiz@mcglinchey.com




  1188942.1
Case 0:17-cv-60330-DPG Document 38 Entered on FLSD Docket 11/03/2017 Page 2 of 2




                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

  electronically through the CM/ECF system on this 3rd day of November, 2017 on all counsel of

  records listed below:

                                            By:     /s/ Joseph A. Apatov
                                                    Joseph A. Apatov




                                       SERVICE LIST

  Jenny DeFrancisco, Esq.                         Joseph A. Apatov, Esq.
  Lemberg Law LLC                                 McGLINCHEY STAFFORD, PLLC
  43 Danbury Road                                 1 East Broward Blvd Suite 1400
  Wilton, CT 06897                                Fort Lauderdale, FL 33301
  Tel: (203) 653-2250                             Telephone: (954) 356-2516
  Fax: (203) 653-3424                             Facsimile: (954) 252-3808
  jdefrancisco@lemberglaw.com                     japatov@mcglinchey.com
  Attorney for Plaintiff                          Attorneys for Defendant


  J. Andrew Meyer, Esq.
  J. ANDREW MEYER, P.A.
  15565 Gulf Boulevard
  Redington Beach, Florida 33708
  Telephone: 727-709-7668
  andrew@jandrewmeyer.com
  Attorney for Plaintiff




  1188942.1
